. v

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 1 of 34

 

 

a ,

litiliiiiiiiililiii|miii

*1036088691*

 

IN THE DISTRICT COURT FOR TULSA COUNTY

 

STATE OF OKLAHOMA [CT CEURT

ANJI BRADsHAW, as special
Administrator for the Estate of
Nathan Bradshaw, deceased,

(1)

Plaintiff,

ARMOR CORRECTIONAL
HEALTH SERVICES INC.,

(2)

Defendant.

MAR 1 3 2017

Y, Court Oiefk

JEFFEHSON D. SELLERS

 

 

 

PETITION

 

Plaintiff, Anji Bradshaw, as Special Administrator for the Estate of Nathan

Bradshaw, deceased, (“Estate”) for the Estate’s cause of action against the above

named Defendant, Would state as follows:l

PAR'I'[ES2 JURISDICTION, VENUE

1. Anji Bradshaw is the Court appointed Special Administrator for the

Estate of Nathan Bradshaw (“ESTATE”) established in Tulsa County District

Court, Case No. PB-2016-324.

 

1 Exhibits 4-15 were designated “Confidentia]” by the Sheriff’ s Office under a protective order

entered in PB-2016-324.

Exhibit No. 1

Case 4:17-cV-00615-TCK-FHI\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 2 of 34

2. Armor Correctional Health Services, Inc. (“ARMOR”) is a Florida
for-profit corporation. In exchange for an annual base compensation of
$5,721,909.18 from Tulsa County taxpayers, ARMOR contracted with the Tulsa
County Board of County Commissioners (“BOARD”) to assume BOARD’s state
and federal law obligation to deliver mental and medical health care (“Healthcare
Services”) at the David L. Moss Criminal Justice Center (“DLMCJC”). [See Ex. 1,
Health Services Agreement (“HSA”), see also Ex. 2, HSA Contract Extension].

3'. The HSA between ARMOR and BOARD required compliance with
standards promulgated by the National Commission on Correctional Health Care
(“NCCHC”) and the American Correctional Association (“ACA”).

4. ARMOR is liable under state law for the actions of its agents and l
employees at the DLMCJC under a theory of respondeat superior consistent with
the common law principles set forth by the Oklahoma Supreme Court in Baker v.
Saint F_rancis Hosp., 2005 OK 36, 126 P.3d 602.

5. Within one year of the date of loss, ESTATE timely served ARMOR
with a Title 57 Notice on November 9, 2016. More than ninety (90) has passed
with no response from ARMOR. There are no additional administrative procedures

for the ESTATE to exhaust.

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 3 of 34

_*..u _

6. As a private corporation, ARMOR is not entitled to any exemption
dorn liability set forth in the Oklahoma Govemmental Tort Clairns Act, 51 O.S. §
151 et seq. See Sullins v. American Med. Resp. of Okla., 2001 OK 20, 23 P.3d 259.

7. The events described below occurred in Tulsa County, Oklahoma,
making jurisdiction and venue proper.

STATEMENT oF FACTS
The Public-Private Business Model

8. ARMOR has a business model that generates revenue through
governmental contracts. Through these contracts, ARMGR assumes responsibility
for the government’s obligation to provide Healthcare Services to people who are
not free to seek out healthcare for themselves

9. To obtain these contracts, ARMOR submits bids to government

' vendors like BOARD. If awarded the contract, ARMOR provides Healthcare
Services in return for payment by the government vendor.

10. For ARMOR to achieve positive revenue from its contract, ARMOR
must provide Healthcare Services at a net protit.

11. To achieve net profits, ARMOR implements policies, procedures,
customs, or practices to reduce the cost of Healthcare Services in a manner that

will maintain or increase its profit margin.

Exhibit No. 1

_`._

"..\

Case 4:17-cV-00615-TCK-FHI\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 4 of 34

12. There are no provisions in ARMOR’s contract with BOARD creating
or establishing any mandatory minimum expenditure for the provision of
Healthcare Services.

13. ARMOR’s contract with BOARD incentivizes cost-cutting measures
in the delivery of Healthcare Services at the DLMCJC to benefit ARMOR’s
shareholders .

In-Custody Suicide

14. According to the United States Department of Justice, suicide is the

leading cause of death in jails, accounting for 34% of jail deaths in 2013. See U.S.

_Dept. of Justice, Office of Justice Programs, Bureau of Justice Statistics,

MoRTALITY IN LocAL JAILS AND STATE PRIsoNs, 2000-2013 - STAnsricAL

' .. TABLES,`Aug. 2015.2

15i Suicide has been the leading cause of death in local jails each year
since 2000, the first year the Department of Justice began collecting data. From
2009 to 2013, the suicide rate in jail facilities increased by 23%.

16. From 2000 to 2013, suicide has been a more prevalent cause of death
in local jail facilities than heart disease, AIDS-related illness, cancer, liver disease,

and respiratory disease.

 

2 See https://www.b]`s.gov/content/pub/pd_f/rnl]`spOO13st.pdf (last visited March 7, 2017)
4

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 5 of 34

l
` .
".
__ - .

17. The vast majority of suicides occur in a jail cell, usually when the
person is alone and unsupervised. Suicides 0Ren involve bed sheets

18. On March 13, 2016, records indicate that Nathan Bradshaw
(“BRADSHAW”) was discovered in his cell at the DLMCJC hanging With a bed
sheet Wrapped around his neck. He died nom his injuries three days later.

19. As described in greater detail below, BRADSHAW’s death Was l
preventable and was caused by or contributed to by acts or omissions that are fairly
traceable to ARMOR, its agents, and employees

Admission and Receiving Screening

MARCHS 2016

 

20. Records show that BRADSHAW was arrested and booked into the
'DLMCJC at 7:05 p.m. [See Ex. 3, Booking Detail].

21. In two minutes from 8:09 p.m. to 8:11 p.m., records show that
BRADSHAW Was given a 152-question Receiving Screening by a Licensed
Practical Nurse (“LPN”) employed by ARMOR. Many of questions were not fully
answered. [See Ex. 4, Receiving Screening].

22. A “receiving screening” is defined by the NCCHC as a process of
structured inquiry and observation intended to prevent newly arrived inmates Who

pose a threat to their own or others’ health, mental health, or safety from being

Exhibit No. 1

'

Case 4:17-cV-00615-TCK-FHI\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 6 of 34

admitted to the general population, and to get them rapid medical or mental health
care. See NCCHC Standard, MH-E-02 (Essential).

23. During the Receiving Screening, BRADSHAW alerted ARMOR’s
LPN of the following: (1) that he used heroin daily; (2) that he recently injected
drugs; (3) that he had received mental health treatment for bipolar disorder, manic
depressive disorder, and borderline personality disorder; (4) that he had been
inpatient at 12 & 12, a mental health facility for substance abuse; (5) that he has
problems with heroin; and (6) that he had previously been in the facility in 2015.
[See Ex. 4, pp. 2, 4-6].

24. Records from BRADSHAW’s prior detentions at the DLMCJC Were
available to ARMOR’s employees during the Receiving Screening. Those records
included a section titled, “Alerts.”

25. _Records show that BRADSHAW’s Alert history included the
following: (1) withdrawal history; (2) seizure precautions; and (3) chronic care -
neurology. [See Ex. 5, Alerts].

26. Records show the LPN who conducted the lReceiving Screening
approved BRADSHAW for assignment in general population, [See Ex. 4, p. 7].

27. During admission, records also show that BRADSHAW completed a
Classification Evaluation Questionnaire (“CEQ”). The CEQ also notes that

BRADSHAW was previously detained at the DLMCJC, and that he suffered from

Exhibit No. 1

Case 4:17-cV-00615-TCK-FHI\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 7 of 34

a mental, physical or developmental disability. [See Ex. 6, Classification
Evaluation Questionnaire].

28. At 10:46 p.m., records show that BRADSHAW was assigned to cell
DLM-M-l-Jl4-B. This cell is located in a general population housing unit. [See
Ex. 7, Inmate Classification].

Inadeguate Treatment Protocols and Indifference to Adherence

MARCH9 2016

 

29. At 6:16 a.m., records show that BRADSHAW was placed on an
'.“'Opiate Detox Prevention Protocol” on telephone orders h'om a Nurse Practitioner.
[See Ex. 8].

30. Records show an LPN also entered a Clonidine prescription for
BRADSHAW at 6:17 a.m. on orders from Dr. Thomas Gable, Jr. [See Ex. 8,
Medical History, see also Ex. 15, Medication Orders]. The Clonidine orders
instructed ARMOR to administer the medication twice a day for four (4) days [See
Ex. 15].

31. Records show that ARMOR was scheduled to administer the first dose

ii of Clonidine to BRADSHAW at 12:26 p.m., but failed to do so because
1 ~. -__BRADSHAW was “in court.” [See Ex. ll]. The Jail Shift Log shows

BRADSHAW returning to the housing unit at 1:18 p.m. [See Ex. 12].

Exhibit NO. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 8 of 34

32. ~ There is no indication from the MAR that ARMOR provided
BRADSHAW With Clonidine on March 9, 2016. [See Ex. ll].

33. At 6:17 a.m., records show that ARMOR ordered a Drug and Alcohol
Assessment with a follow-up each day for six (6) days. [See Ex. 8, p. 2, Medical
History, March 2016]. The subsequent flowsheet used by ARMOR was labeled
“CIW ”, or Clinical Institute Withdrawal Assessment.

34. A CIWA is used to assess withdrawal from alcohol, but BRADSHAW
denied using alcohol during the receiving screening. ARMOR did not assess

.'-BRADSHAW using a Clinical Opiate Withdrawal Scale (“COWS”), which is used
to evaluate opiate withdrawal.

35. Although ordered at 6:17 a.m., ARMOR did not initiate the CIWA
until approximately 38 hours later, on March 10, 2016 at 8:18 p.m. [See Ex. 8, p.
2].

36. By the end of March 9, 2016, records show that ARMOR had failed to

' administer 2 of 2 doses of Clonidine.

MARCH 10 2016

 

37. Records show that BRADSHAW received his first dose of Clonidine
at 8:53 a.m. [See Ex. 1 1].
38. At 4:39 p.m., records show that BRADSHAW was evaluated by

ARMOR for a painful left forearm that included swelling, and redness. [See Ex. 9,

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 9 of 34

 

Sick Call]. The record indicates that BRADSHAW told the physician that he
missed a vein when attempting to use drugs on March 8, 2016.

39. In response, ARMOR put BRADSHAW on a regime of opiate-based
Codeine for administration three times a day for five (5) days [See Ex. 9].

40. ARMOR ordered opiated-based narcotics for BRADSHAW despite
records indicating that it had already initiated an Opiate Detox Prevention Protocol
on the morning of March 9, 2016 that did not include opiate-based medication.

41. Records show that ARMOR checked-out Codeine to administer to
BRADSHAW on the following dates and times: (1) March 10, 2016 at 4:30 p.m.;
(2) March 10, 2016 at 9:00 p.m.; (3) March ll, 2016 at 5:00 a.m.; (4) March 11,
2016 at 1:00 p.m.; (5) March 11, 2016 at 10:00 p.m.; (6) March 12, 2016 at 9:00
a.m.; (7) March 12, 2016 at 1:07 p.m.; and (8) March 12, 2016 at 9:00 p.m. [See
Ex. 10, Controlled Substance lnventory]

42. The Controlled Substance Inventory shows that ARMOR checked out
one dose of opiate-based Codeine for administration to BRADSHAW before his
CIWA at 8:18 p.m., but it does not appear on the MAR. The disposition of this
dose .of Codeine is not accounted for in the MAR or in the Controlled Substance
Inventory.

43. Records show that ARMOR administered the first CIWA 8:18 p.m.

The CIWA noted that BRADSHAW presented with mild nausea and no vomiting,

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 10 of 34

mild anxiety, mild itching, pins and needles, burning or numbness, and moderately
severe hallucinations [See Ex. 8, pp. 2-4].

44. The MAR shows that BRADSHAW was not medically fit to receive
his second dose of Clonidine at 9:09 p.m., but the MAR does show administration
of the first dose of Codeine at 11:34 p.m. [See Ex. 11].

45. By the end of March 10, 2016, records show that ARMOR had not

_ administered 3 of the 4 doses of Clonidine, and the records do not account for 2 of
~ the 3 doses of Codeine.

MARCH 11 2016

 

46. The MAR shows that BRADSHAW received his second dose of
Codeine at 5:43 a.m. [See Ex. ll].

47. At 6:48 a.m., records show that ARMOR repeated the CIWA. The
CIWA noted moderate tremors, some agitation, and mild joint discomfort [See Ex.
8, pp. 4-6].

48. At 9:50 a.m., the MAR shows that BRADSHAW received his second
dose of Clonidine. [See Ex. ll].

49. Records show that ARMOR repeated the CIWA at 12:16 p.m. The
CIWA noted mild nausea with no vomiting, mild hallucinations, and mild

sensitivity to light. [See Ex. 8, pp. 6-8].

10

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 11 of 34

50. Although the Controlled Substance Inventory noted that a dose of
Codeine was checked out for administration to BRADSHAW at 1:00 p.m., the
MAR does not identify any Codeine given near this time. The disposition of this
dose of Codeine is not accounted for in the MAR or in the Controlled Substance
Inventory.

51. The MAR shows that BRADSHAW Was not medically fit to receive
his third dose of Clonidine at 9:20 p.m.

52. The MAR shows that BRADSHAW did not receive his third dose of
Codeine until 11:31 p.m. [Id]. This is the fiRh dose of Codeine listed on the
Controlled Substance Inventory. d

53. By the end of March 11, 2016, records show that ARMOR had not
administered 4 of the 6 doses of Clonidine, and the records do not account for 3 of
the 6 doses of Codeine.

MARCH 12 2016

 

_ 54. Although the Controlled Substance Inventory noted that a dose of
Codeine was checked out for administration to BRADSHAW at 9:00 a.m., the
MAR does not identify any Codeine given near this time. The disposition of this
dose of Codeine is not accounted for in the MAR or in the Controlled Substance

Inventory.

ll

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 12 of 34

55. There is no record in the MAR of BRADSHAW receiving any
Clonidine at all on March 12, 2016. [See Ex. ll]. l

56. There is no record of ARMOR conducting a CIWA on the morning or
afternoon of March 12, 2016 as originally ordered.

57. Records show that BRADSHAW refused lunch at 12:32 p.m. [See Ex.
12, Jail Shif`t Report].

58. The MAR shows that BRADSHAW did not receive his fourth dose of
.Codeine until 1:25 p.m. [See Ex. 11, p. 3]. This is the seventh dose of Codeine
listed on the Controlled Substance Inventory.

59. Sometime before 4:01 p.m., records show that BRADSHAW
submitted an Inmate Request Form that Was received by Detention Officer
Oyedele. It reads:

I need to speak to someone in Mental Health. My anxiety is

unbearable and has kept me from sleeping and caused me to pace

around restlessly and hear things
[See Ex. 13, Inmate Request Form; see also Ex. 12, Jail Shifi; Report].

60. There is no documented response to the request.

61. Records show that ARMOR repeated the CIWA at 6:42 p.m. The
CIWA noted intermittent nausea but no anxiety. [See Ex. 8, pp. 8-10].

62. Although the Controlled Substance Inventory notes an eighth dose of

Codeine Was checked out for administration to BRADSHAW at 9:00 p.m., the

12
Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 13 of 34

MAR does not identify any Codeine given near this time. The disposition of this
dose of Codeine is not accounted for in the MAR or in the Controlled Substance
Inventory.

63. By the end of March 12, 2016, records show that ARMOR had not
administered 6 of the 8 doses of Clonidine, and the records do not account for 5 of
the 9 doses of Codeine.

Conclusion of Detention

64. Records indicate that BRADSHAW left the housing unit for medical
at 9~:21 p.m., and returned at 10:05 p.m. Records indicate the housing unit was
locked down at 10:31 p.m. [See Ex. 12].

65. Records indicate the Detention Officer on duty failed to perform sight
checks of BRADSHAW’s cell in violation of Oklahoma Jail Standard 310:670-5-
2(3). At approximately 12:11 a.m. on March 13, 2016, records indicate the new
guard on duty found BRADSHAW unresponsive and hanging in his cell.

66. The Detention Officer from the previous shift admitted that he made
phantom entries into the computer system to give the appearance that sight checks
were done, When he knew the opposite was true.

67. Records indicate that BRADSHAW was transported to OSU Regional
Medical Center at 00:32 hours on March 13, 2016. [See Ex. 14, Emergency

Department Transfer Notification].

13

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 14 of 34

. .

68. The inconsistent use of Clonidine and Codeine, particularly the failure
to adhere to the treatment regime relative to a person known to have an opioid
addiction, substantially increased BRADSHAW’s risk of suicide.

69. BRADSHAW remained at OSU in the ICU until March 16, 2016. He
is survived by his mother, father, siblings, and numerous friends and family
members

STATEMENT oF CLAiMs
Survival Act

70.' ESTATE adopts and incorporates by reference the preceding
paragraphs as if hilly set forth herein.

7l. Pursuant to 12 O.S. § 1051, the decedent’s right of survival arising
from the wrongful and intentional conduct by ARMOR is held by Anji Bradshaw,
the legal representative of the Estate of Nathan Bradshaw. Plaintiff, Anji Bradshaw
demands all damages recoverable under the Act, including damages for funeral and
medical expenses and conscious pain and suffering, as well as any other damages
recoverable under the Act,

Wrongful Death 1

72. ESTATE adopts and incorporates by reference the preceding

paragraphs as if iislly set forth herein.

14
Exhibit No.1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 15 of 34

73. ESTATE’s claims are actionable under the Oklahoma Wrongful
Death Act, 12 O.S. § 1053. Such claims are distinguishable from Survival Actions
in Oklahoma, See Boler v. Security Health Care, L.L.C., 2014 OK 80, 336 P.3d
468.

74. As a direct result of the wrongful and intentional acts of the
Defendant, the next of kin of the decedent is entitled to incurred burial expenses,
loss of the pecuniary value of services expected to be performed by the decedent
and other damages recoverable under the wrongful death statute including, but not
limited to solatium damages

Negligence

75. ESTATE adopts and incorporates by reference the preceding
paragraphs as if fully set forth herein.

n 76. ARMOR owed a duty of reasonable care in the management of
BRADSHAW’s medical condition consistent with its contract,

77. ARMOR breached that duty through the conduct detailed above,
which includes, but is not limited to, the failure to conduct a complete receiving
screening, the failure to base the classification recommendation upon a complete
receiving screening, the failure to conduct a COWS, the use of` a CIWA to assess

an opiate addict, the failure to adhere to prescribed medications used as part of an

15

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 16 of 34

 

opiate Withdrawal protocol, and the inconsistent use of opiate-based Codeine while
1 implementing a non-opiod Withdrawal protocol.
78. The ESTATE has suffered damages as a direct and proximate result of
these acts or omissions, for which ARMOR is liable.
REQUEST FOR RELIEF
79. The ESTATE respectfully requests the Court enter judgment upon the
claims detailed above, and award damages at a subsequent hearing in an amount
that exceeds $75,000.00.
Respectfully submitted,

BRYAN & TERRJLL

By: /_/'j ,
J./Spencer , OBér # 19419
BRYAN & LLAW, PLLC
9 East 4th t., Suite 307
Tulsa, OK 74103
Tele: (918) 935-2777

Faxz (918) 935-2778

Email: isbrvan@brvanterrill.com
Attorneys for the Estate of Nathan Bradshaw

ATTORNEY L[EN CLA]JVIED
JURY TRIAL DEMANDED

16
Exhibit No. 1

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 17 of 34

, ~. . . , _ .\ ......

miami

001 07 2013
mrs AonEEM:g'Nr by esa:between the Board =or.eooti_ty f :"oners off runs com ty,
cummins (“Boeo*), on beirut-of the russ county specifics omoe ('~'?‘rosov)_, rod sharon

l cemenon HEALTH answers mc.. (z‘AitMon"'-) is easter otto ss of the tit dry of
November, 20'13. `

 

 

Wheroas,_ TCSO is charged with the rosponsibility;for'administoring,_ managingand supervising
the health care doherty system ofthe maria .L. Moss minimal Justice center (“Facility”) located at
300 Nforth Denvor- .Aven`ue', Tulsa, Oklahoma, and ther objective ofthe TCSO is to provide for-die
daliva_r‘y,of quality health care to those pretrial detainees individuals sacramento time in the candy
jail, ICE.detaiuaes-,.juvamld ,, and federal f detained madisan yclearadformd physicalfyaooopfod j ian
1116 Faoilif¥s.(lnmd$.. j...)° in Mdall_ on with dlo-'-lawnofth€ Stnto ofO kldloma,. Amorl._ ' son Colm ‘. `ond
Assuoav- ` ‘u:n (AQA} Standmnv,x Nanuual Conlm.isviouou Conacuo ¢- 'iial Healthama (NCCHC) staadmus,
Prison Rage El~imination Act ~(BREA},. Commissi`on for Acereditatiou of haw Eu:&ircomant Agencies
(CALEA) attain a monitor ser forth in the sequests forrruposal, the Roepoine nom ARMOR,
deparmaont_poliriim,;pmoadidd and.derivatives and " "-` ` " oemoasurcs. ARMOR is in tth business
of providing command health care services and desires to provide such services for TCS.Q nunn ma
hanna hud conditions_horoof .. .._, . ` . f ° with the intent fo bologdlY bomni~, audio consideration of the
novmmf&andpfoml f ._ mhddnaftd ` .. modes monarti'os`hcreto agrao_as follow

 

 

 

1..1M, .Bo¢Cherehy engages ARMOR tri-providener delivery of»raasauabla-and
.naaoasary‘ ' ‘ " medlcal, "j phanoaoaut`is_do vsy°hlntrlo and_mo_utal hodfh Ssrvioa.s for’fhe
F ' ‘ ' ARMOR hereby accepts such onganmlentaccordiog to the terms and provisions

 

99€.633,

'1.32~ sCOPB OF stR C.Es ARMOR will provide professional medium dental-,
psychianic,phannaceutical, and related health care and administrative services norma
harms rhis program will include a preliminary health evaluation assuming of
. star upon aiiivul rt rfl_,ie Faailitv, regularly scheduled sick oal_l‘,,_ nursing wrongs
ca physician uslw run-site infirmary sam survival evaluations ha ~
intrusion.;spooist;_N ry sewiqu _ .-,; emergenc y medical care medical records managemara_ . ,
pharmacy services health education and traimn_g, pa quality assurance program
administrative support survivors and other servio.os as more : ' "noal.ly diamond
hereinafter fi’ARM611-iiiids that nia_.y- cannot moot the tom of misconduct or my
pdtthereof,'nl¢§rshdl Pf`°mpily notify TCS’O inwrrting; " ofthe area ofnon=compliance,
so~thatthepmblemuanbo ' ~ .

    
     

   

 

L;Z.CO RBHE = ~ ’ ALHEAL C »|. All,d€wiwwlllbeseen
by the registered nurse (RN’) or licensed practical nurse (LP`N) in intake within two (2)
hours oftheir arrival or daniedataly; ifmkad~. mailing of the make areale indudé one
LPN or RN with aseoon'd- LPN or RN during peak home of operation v Workstations for
each intakomnso must-be complete with a computer (provjded by TCSO) md all clinical
tools hoodsa_ry'to perfbrmfhis work. lf’, at mytime, intak'ef§i`§ backed upmore than 4hout;S,
additional Sta`f§ Sui’-Boionf to clear file back up will be required ARMOR shall identify*to
TCS.G those inmates with medical/mental conditions winch may be worsened _as a rduit»of'
being .' " ' f;“;" ; ..at managith ar which<may require oneuvivo gun Whilo in

  

 

wm Exhibit 1

Exhibit No. 1

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 18 of 34

Ancr noviow of the circumstances surrounding the charged and whim security risks are
minimal the TCSO shall make every effort to have thcsc-` inmates released

 

week, including Snnrfays and holidays for necessary treatments history and physician {l'-I &
P’S)', paol’.ifrzod sink oath and urgent cain The physician or mid-leval provider (MLP) will
be physically on site eight (8) hours each week day and four (4) hours each weekend day,
The same hours also apply to holidays They niro fo perform and cum into the electronic
mcdrcalrecord(EMR)anH&Pwiththcuraf’orovcrypancntadmitfedmtothe
infirmity-and tci round on every patient at aluminum ofonceeach 24 hours while housed
in the infirmary The_y nrc to life available by telephone or tolemedicine (ifuvalinhle) twenty
four (__';2.4) hours per dny, seven (7) days per week ibt consultation hy fha nurse t_`__c_cr questions
pertaining to the in _ »_ , , sincide watch, sick call,_- intake H&:"l_"’s ._o_r. segregation units
'I'heymust, at ammumnii,bc certified inbrisic lifcsiwon (BLS_) ltispcrmiftedfchavea
resident physician in trainith an adjunct to this call schemilc. acting undortho supervision
_ of the physician As~ medically ~'appfupnat¢, a
j_l_ eubyeeuve/objeeiive/assmseeot/plae/edocsooi (sQAPB) note wm be entertain tecum
LPN’ s maybestnffcdinthcmiirmary.-

 

1,4 SP =IA'L'TY` SE VICES ARMOR will provide for specialty services onssitc to the
extent resultath possible with the possible adjunct of felonfe&cnfo. '_Fo ;fIi"e extent
specialfycamisreqmrodandcannothemndcredon-sife,ARMOwannmkc
appropriate off-site arrangements for the rendering of such care ARMDR will make
every effort fo schedule routine off»sife services in a manner convenient for TCSO
transportation and during the neutral business harms of Monda.y mugh Friday, 8 a.m
to 4 p_.m, or as reasonably agreed upon between ARMOR and the specialist’s ofiioe.

Gostsforspecialtysorvicec shullgotowari! mcwgafccapmsccncnl ..9

 

f ' z " ` “ ' " " ; >`ES ARMORwillnotberoquucdfc
provide basic optometry services for the purpose of providing new eyogfassos fe
Inmafos ARMOR will provide ophthalmoloch services fo the extent necessary to
relieve or unaware any exacerbation of a debilitating medium common requing
ophthshno`logicai sdwices, or in the event cf e court order to provide such services
Costs for optometry or ophthalmologist services shall go toward the aggregate cap in
section 1.9

 

l.o;' _ fig » GNANT INMAIIE .4 ARMOR Will providohonlth sdvfocsito any pregnant Inmate
in accordance with NC€HC standardst.bnlf. healthcare services provided to an infant
following birth will not be the responsibility of ARMOR.

1.7 - ' ‘ EKVI 'St ARMOR will provide first rospohse, emorwa medical
continent for himafcs, ~; ” " and TCSO staff as necessary and appropriate on~srff`a
ARMGR will provide uni-site emergency medical care for mmafcs,_ as inquired fhwugh
arrangements to be determined with local hospitals ARMOR will be responsible for
providing and maintaining adequate and timetimnl montgomery equipment and for the
training and certification (BLS) of appropriate Armo_r sta‘&fb ima that ofq_ufpment_. The
num`bds and location of AED’ s must he agreed upon by 'I_`CSO. Pro.vi'sion of
cinefg_oncy services to staff shall be lime to noonan cr short-tenn emergency cafe
received while on duty at the jaili ARMOR will arrange ambulance services for
females for emergency circumstances Routlno h~aiisf'ors will he the rocpr)nsihfliw cf

2 fl6
'° Exhibit 1
Exhibit NO. 1

 

 

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 19 of 34

TCSO in regards to off-site non»eraergency medical treatinan -Costs for einergwtcy
servicesjshall go toward the agge_gate*'¢ap in Sacl’ion 1.9».

1,8

 

HOSP-f. AI..IZATIO SERVICES. ARMOR will manage for the admission of any
inmate who_, in the opinion of Armor’ s medical directory reguires hospitalization and
will hear the costs rhereot", limited in the fhl`lowing ciretailstances and amounts

(A) ARMOR will be responsible for all costs incurred for hwth care delivered eff-site
(bnts'ide the facility) for Inmates in accordeuccwi;th the`lirnits stated herein

(B) ARMOR and TCSG shall work together to establish anei’fectrve Disc'har-ge `~Plamjlitlg»
program terminates _

(C)~ARMOR agrees to provide-=_and_.monitor utilization and management services.

1.9

 

"-. Any off'~site, onsite specialty (by non-annot employees),
telemedicme medical,- emergency transport and od`-site hospital guard (se_e sech 7 3)
services provided to any Inmate shall be limited' ita financial responsibiliry to ARMOR
in the following manner.

ARMOR has an annual expendimre 0f$500,00000 for the aggregatecest ofall off-
site;on~site specialty care by non-Arrnor einployees, emergency transport, telemedicine
health care and off-site hospital guard duty services. lt` m any dscal year-, the off-site,
on-=.s,ite specialty care by non~'Arrnor employees, telemedicine expenses,_ emWncy
transport and off-site hospital guard duty services stay below $500 00100, ARMOR
will .rehate back to TCSO one hundred percent (100.%) ic't`the savings

ARMOR will provide dctailed_, individual iama_te; itemized billing of all edf-site and en~
site expenditures to TCSO on a mentth hasis.

1.10 "" l OF HDSPIT- OF '-.z» 4T.ES .V-ICES. Armorwill beinsponsiblefor
gathering all available information pertaining to other payor sourgejs for beams care
starting st intake of each Inmate Armcr will provide that itlfoweti_on to all hospital
and eid-site providers priortc ordunngmedical deemaentora`t the earlieartimeitis
available to facilitate the direct billing by the hospital or od`~sire provider to the iamete*s
payor semco la addidon, Amror will review all other° invoices for hospital care and
other off-site providers, updating outside payor source infon and in routing the
iiivuige to the appropriate agency for payment It` monies are received by Anrtor lhr` _
hospitalicadnns or od`-site medical care dear outside payer som-'cec, that money will he
creci`ted against the TCSG aggregate ca'p.

   

l,l.l.

 

(_A) ARMOR will begin fiscal responsibility once an individual has been medically
cleared for acceptance into the Fa_cilit-y and becomes an Inmate The arresting agency
assumes responsibility of an arrestee’s health care at the time that arrestee is taken into
custody and prior to becoming an I`mnate.

(B) ii`services are requested by TCSO outside this contract (e.g. TS.CO staff flu shots or
Hepatitis C vaccinations), ARMQR_- shall ' "j_ t reasonable elicit to provide such
services Such services will be at additional cost and will be invoiced to TCS€) on a

3 °“6 Exhibit 1
Exhibit NO. 1

 

Case 4:17-0\/- -00615- TCK- FH|\/| Document 2- 1 Filed in USDC ND/OK on 11/07/17 Page 20 of 34

monthly basis._. TCS._O- agrees to reimburse such costs within thirty 5(30) days of the
l receipt arena invoice

1.12

 

' ' - ‘ICA_L CARE ARMGR will not he responsible for the piovisian of
elective medical care to lnmate's-. Fo_r purposes of this agicment, elective medical care
means medical care which if not provided would not in the opinion of- ARMOR’s
Medieal Direeior,» canse.the Inmaia’s health to decedents er connections hans to are
lnmate*s well`-bcing.

_ l.13 " ' '-., ~ iiC=B'S To the extent any fnmaic, visitor or TCSO staff
l requires offsite health care treatment ('c..,g hospitalization enamelty emvices, etc),

TCSO will notify appropriate routine transportation services ARMOR- will be
_.fe for ambulance services for Inmates requiring emergency tansportation.

 

 

Emgcncy tamportation of inmates will he counted toward the:: " '
outlined m S_ection l .9 above

  

l.'=l 4

 

and medical supplies used in meeting the specifications of this contract Medical
supplies are to include prescriptions and uver-the-countcr medications The hist
$25,000 per ocnunc_z year in costs forblood prodgcrs and assoniated supplies shall b:c
applied against the aggregate cap in acctlci`i 1.9 (pro rated for lesserpcricds) Any
costs for blood products and associated supplies_` in excess cf$Z$, 000 per contract year
shall he reunhur_sed to ARMOR by TCSO/BOCC,

- l.l_$

 

prophylactic care to TCSO employees and minor employees in the event elf- possible
exposure to blood horne pathogens as required by NCCHC Fer the "" 'f , of this
a section, communicable disease shall be deRned as blood borne diseases such as Humsn

l lmmwiodelicicney Virus (HI_V._) or Hepatitis Shoul_d possible occui_;,_ the
exposed individual shall present to Armo_r staff to he eval;__..: _ and, as medically
ludicm`ed and authorized by the individual being evaluated provided prcph}da'c`tic
cruel-gent care Ar.mcr shall instruct the individual on any additional follcw~up that may
he mccreary The individual s health care provider shall provide all follow-up care

 

 

 

136

 

provide medical services to all Oklahoma lepartmcnt ct-‘ Coiwcucns, ICE and
Maishall's service detainees while such individuals are detained at lite liability All
hillahl'e (c&`.~ site medical sciences and itemized on~s‘ite care supplies or
pharmaceuticals) charges will be submitted for payment to the appropriate responsible
party Should such billing and reimbursement only be accepted through Tulsa Couuty,-
all reimbursements will ultimately be pmd back to ARMGR.

. - ' " - » minutes atthe hanlth have access to an clean system
for general and specific questions/comments/lainrs ARM()R agrees that such requests
categorized as a medical/healthcare specific question will lbe tiia_ged within four (4) hours cf
receipt by ARMOR.

   

4 °m Exhibit 1

Exhibit No. 1

 

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 21 of 34

1418 Inmatss housed m the insanary“vsill bs=evsl,sated everyth.ift`by theme olsen
Inmatcs harmed inlthe;aeg:¢g_ahed unit or ill observation cel_l;s_ferfs_a;ieidewn_tch~will be
evaluated as-;niedibali'y mdxcated An appropriate note?in<the" EMR will,be.;geaierated;

1_'19 T§LBMEQ__ICINE: A plln.»rol hoplelnentalioll_ oftelsnedieise leather transporting
males fbr` dutaide specialty services if such spf`_ ~_ ats-danno.t=eozl_:le onesit_e¢for'whatever
:rehson,islls;ll_.be ssbmirted,te:the Fnellltywllhin 120 daysofaxecuhonoftlnsA (ator.
on March 1§ 2011'4§;

120 SPECIAL -E ‘S-D.` ;.:..A,RMOR.=will provide dietaryeonsultaaollwllen_;sa;ch services
are.-el`ini .;. sindin -nr:needed;as a panels werapeuacregimen or seasonal plan

1..2,1: lsd ' 'ecl=l lead ERVI.GBS: ;1..0R.wi_fll utilize e“,leesl retail phmhacy' - sam '
neese § " ` readily obtained demotherseurees Whenme
misses sr national sherlages preslede the-censhseaen of assessmmsdwshsns
therapeutl_a:substitliti'ons wilil€bemade<-=so that care is.not-=int`errl§pt`edl Inthe eventuf a
harland shortage oftenolnen,,nkMOR:will failed roool'llmelldaaons esmeeceatel:e;foe
Dieeeee " Callllol gCUC).-and will track"i"' ' vach anew " end

     

     

 
  

 
      

preseripti us oanhdtbe'

 

._ § _ _ , delmaeeswho
ellsme irs pmvlsionwhen suppliesb;eeolne available

   

..nl .PERSQNNEL
all gregg _ING~_._ almon tall provide the smf§ngi _;llel ronnie Erhl.‘bil-A..

A. ARMOR -agreee to notify the faaili'ty director er designee when ler health services
Psf$ssne¥ such as the Health Sorvic¢s A _ ij ._ _ _ . j' and/ortho ;Medioef f », will
he atf the grounds of the facility for any "Ies;ve' net absence exceeding 24 hours A
written ngtfi§¢afihn must inelu_dc the¢name, title, and cement mfannatwndfthé§peli‘so'n

    

B. The TCSOWi`Il have:the right to approve keyARMOR` ` "

shall not he unreasonably withheld or " laysd, is 'iir;alude me~fdllerving healthse~'¢vicel_l_
admlmstrator, director '_Q,f nursing,, facility medical :d" `i"rect- or,. psychiatrist and midstev'el'
‘ fisher

 

'C. should-the inmate population exceed il,.TCSO and tanner agree toe review
starting ' ‘ and the base ..centrael price rto allstate proper __ sale is reasonably dbl‘¢ ts bs‘
~:": _ , I'f minimal alta/citing'._'-'is;v needed eto properly care for the lnmsts$l TCSO md

l Arn_lor. S`.Hh_n ages 119011_' bgis,e'§additional eeoglperlsation required to. provide the needed
stallings

D. sites the asst 90 days from Annor’s commencement of servier under this
Agreement va mthhold from base summation may be-.i.mssssd h¥‘_*hs TCSO 'f°i ms
unpna none nn l measures below reel hew sam assess his A~ sess é"-*’s‘~

'.£CSQmay~'eed'llct from its monally payment to moral i-Oa%'efltlle average withheld
rate `fdr the pgsitionlca§¢§,°ry as set forth in Exlv`bit. A. Which`. is admitted and
incorporated 'ln'. Ill all eases,. employees riley he needle sever alternatives when

their lerodenaéle equal or exss;sd lleelaredelltrals leasirsd for esch-position -(°~gs an RN
5 of 16 Exhibit 1
Exhibit No. 1

 

 

Case 4:17-0\/- 00615- TCK- FHI\/| Document 2- 1 Filed in USDC ND/OK on 11/07/17 Page 22 of 34

_ may cover fec an LPN) Ari_nor will provide TCS_`(;) With a mcnihly contract Mng
l compliance report showing all contract _§ ~' ft_ms relative iii the `_,`_'_' _ _. 113 MX~.

   

   

' ` CHECKS. TCS.O_. shall provide backgould _ _;_ 1 ' records ehcch
§n' all AI;I§OR employees upon hire alld- as otherwise required by law or as requested
Y ARM

 
 

2.3 § ` ` " ' . lftheTCSG should become
dissatisfied with any ARMGR personnel provided by i" `.`_(l'R` hereunder ARMQR", in
recognition of :ille sensitive nature of correctional semeee, will, following receipt of
writied nbtice from TCS"O of dissatls£action and the _leasens thereiei'e, exercise their
best efl`orts to resolve ihe problem lf the problem .1s hoc"canno't be resolved ARMOR.
will remove the individual within a seasonable time flame eeasidci:mg effects on
delivery ofheal_lh careandrecniianea __ » "' " " "'lereplaaement _A£RMOR
shall immediately notify the TC_.SO of any disciplinary action instide or pending
against the license of- any practitioner/staff employed by the ARMOR

 
 

 

Z'Jl

 
 

will ii_`ef he employed er otherwise engaged by either ARMOR 'o'r~ l"z in; the direct
rendernig cf any health care services lnmates may bet used' iii positions not involving
the rendering efhealth care services directlth lnmates as __; _ and TCSO may

 

mnmally agree

.2`.5 SUBCUNTRACTING AND DELEGA-TION- In order ftc discha.l-gc_ its 0'_`
hereunder ARMOR will engage certain health care professionals as
contractors rather than as employees As` the relationship between ARMOR and them
health care professionals will he that of hidcpcndent ccntmcter, ARMQR will not be
considered er deemed in be engaged in die practice of medicine or other professions

acticed by these prefessionals, and the independent contl:aet'ei_' idahonship of
‘ R will not affect the exercise of the independent conkm`r‘.s in"' -' '_ dent
l judgment in the practice of- the profession

  

   

_,2-.6 DISC ` lN~A" ON_. ARMOR will rean select traln, promote transfer and release
its personnel as contemplated hereund;ei:_, without ireng te race, colon religion
national nrigin, handiea._p, veiegan ~,status age,- or gender (iexcept labels age,- gender or
handicap is a bona.i`ide occupational qualification) Fui‘ther, ARMOR will admimstm* its
other personnel policies such as compensation benefits, layoffs, remain hahn layoff,
company sponsored training, education, and tuich assistance Withotlf regm`i _to tech

color religien, national oc`i_gin,_ handicap veteran stanis, age ;o"i_'i seit.

 

2.7 Commenclng with the contract start date, and monthly thereatiel'-, ARMQR shall submit
siaf§,ng plans for the Faoilit_y to the TCSO. Any deviations limit the established
stamng plans must be eommmiicated in writing to T_CSO-,- including the reasons feit the
stammg shortage ~ahd the steps taken to alleviate the _ .~ - »

 

m 16 Exhibiti
Exhibit NO. 1

 

Case 4:17-0\/- 00615- TCK- FHI\/| Document 2- 1 Filed in USDC ND/OK on 11/07/17 Page 23 of 34

 

 

|_ 3 l.l) EFD\II§§§Q§:S ARMOR shall institute a program of Continuous Q.ual_ity Imprcvemeut
.(BQI_) Pregra`i'n and Professional Peer Review-, which witl include, but not he limited _t_ii,
audits, and medical record review Physician peer reviews shall occur not less than
annually Withni ninety (90) days atf commencement of services under this sgtpemen_t
ARMOR must provide evidence to the TC`_SO that a CQ1 Pipgram is in plaim that mclnd`e`s
quarterly meetings of the 011 coimmttee and monthly Medical Atidit Ccmmitte'e (-_ -' C)
meetings Th;e CQI program will use a mata-disciplinary committee _an_d must involve all
health care disciplines during the calendar year Morbidity apa Mcitality ieinews must
come under the scope cf C§I program

 

3 32 ARM6R shall provide a peer review of all primary cafe providers to include physicians
psychiatrists dentist-miree practitioners physician assistants and P_h,D 1eve1psychologist,
conducted o;ti ne less an annual basis Peei_~ reviews should mchide such acum`tlaa as chart
rcv-i'ew, medical treatment plan review fbi special needs inmates review of: cti?»slte
consultations specialty refempls,» emergencies ai_id impatient and outpatient hospitalization
The completion of the reviews should be appropriately documented Where poss`ble or
appropriate to a‘Eeet tha purposes of peer ftcvicw, mich proceeding will be conducted m
accordancewith applicable peer review statutes cr regulations and applicable
confidentiality requirements

lVi ACGREDIII`ATION

4 l f enera.l, ARMOR’s services hereunder will he designed to he m compliance with the
standards developed by the NCCHC ."fo'_r `Jails based on the most cement edition However,
ARMOR shall riot he responsible for failure due to standards that are pet directly related -'t__o
medical care

4;2_ ARMOR’s services hereunder will be designed t"o be in compliance m`th the standards
developed by the ACA Standards for Ad_iilt Cortectional limitations iii acetirdarwe with the
most recent edition Howevc`r, 611 shall not be responsible for failure due ito

standards that erie tiii`t directly related .`to medical care

 

_1§_3_ ACCR_EDITATION COST ARM6R pull schedule and pay for the NCCHC
accreditation and its cost including :tt; meek survey if requested by the TC_SO. AEA.
accreditation costs shall he paid by the TCSO.

 
  

` ` ' ' ~ - v ~.`H ~ LTH EDUCATION ARMOR will Cohdltét an o_n`gding

health education pmgam fot- Inmates and correctional chicets at the Facility. This_

health care education program will inelud`e, at TCSQ’s request programs in first aid,

signs and symptoms off chmmcal dependency and withdrawal, recognition of the
I suicidal signs,_an‘d reactions to medical emergencies _

;5.2_ Boll"i Armo_r ahd l shall oct their activities in full comle eewith HIPPA, 88

amended ~

 

7°£‘6 ~ Exhibii1
Exhibit N0. 1

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 24 of 34

 

has taxived health care services Tl'ns medical record will he maintained pursuant to
applicable law and will be kept sepal‘ate hom the Inmate's` con§neinent receid. A
comp1ete copy of the applicable medical record will be avallable to accompany an
lumat'e’ s contineth resold aft the request of the TCSO __A summary of si '_ _A 1
medical problems will be provided to a, any an Inmate who is transferred to
another correctional setting A complete copy of; thel applicable medical record will be
available to accompany an Inmate who' is transferred from the TCS..Qto another locsii’on
ibt off-site medical services Medical iecoi‘d's will he kept conidential add ARMOR
will follow the TCSO s_policy with regard to s by biniates and TCSG staff to
medical records subject to applicable law regarding confidentiality o;t"; such records No,.
infortitaiion contained in the medical words will be ;, ., lay CHMQ except as
prevailed by {§GSO pclicy, by aj court order or otherwise ih accmdance with applicable
law 'I'.GSO owns and retains custody and control of all medical teeords.- U"pon
termination of- this agreement-, all medical s wlll be the ‘ of TCSO All
custody and ontol of medical records will meet HfPAA regulations

 

 

 

 
 

 

(A) Assu'ming these ace no delays with bmldmgan interface between the jail
management system and the EMR or with cabling and hardware initial implementation
_ ofac EMR, will be completed within thirty (3£!) days ofthe initiation ofthe contract

unless othei‘wi se agreed upon by TC"_SO and ARMQR, The paid'es realize adjustments
to idle EMR may need to occur after initial go live hnplemciitation.

 

612 REGULAR REPOR.v ` 55 ' 55 ;" " "
reports to TCSO_ containing an analysis of health care services rendered hernandez and
any _oltlier reports mounted by TCSO __nmg to the direct delivery of health care
_ ' . ,d_urlng the term of this contract

 

 

" 1 ’ 1-1CE. ARMORmustsxkandobtam§’omanylnmate,
information concerning any health ?" ce the wmata might have that would cover
services rendered by ' '~= s" 1 OR hereunder, and TQ~'SG will coopmate `._fi;illy wlt;b;ARMOR
itt"'itsre"f€orts to: senin'e' ` the saine'.

6:.;3

 

 

 

6.4 ARMOR RECDRDS AVAILAB-LE 'I`.G TCSO ARMDR will make available fO
TCSQ at the request of the TCSI`_-, all records,_ doents, end other papers relating to
the direct delivery of health care servtccs to lm.mites

 
 
 
   

63

     

_ During the tenn of this agreement and bi a reasonable tiiiie becoet`ter,
TCSO Wil_l provide ARMGR, at ARMO -’s tequost, TCSO records relating to the
provision ofhealth care services tobinmtes during the term of this agreement as rhay be
requested by ARMOR ot as are pertinent to the investigation or defense of any claim
related to ARMGR’$ conduct TCSO will " e available to ARMOR such records as
rare maintained by TCSO_,- hospitals and albeit outside health care providers involved iii
the care ct treatment of Inmates (to the extent TCS05 has any eonttol or possession of

8 of 16 Exhibit 1
Exhibit No. 1

 

 

Case 4:17-0\/- -00615- TCK- FH|\/| Document 2- 1 Filed in USDC ND/OK on 11/07/17 Page 25 of 34

Vl.'h_

    

 

those receitls) as ARMOR may ceasenab`ly request consistent With applicable law;;
provided howevet, that any such information released by TCSSO to ARM6R._ that '_1`C;S10
considers confidential will not, except as maybe required hy" law, be distributes tel any
third parity without pcihr written approval by TCSO `

SECULLI§Y

711 ENEBA_L ARMGR and TCSO " " "1 that adequate securi_‘ty services are
necessary far the safcty of the agents cmployees', and submatca¢sors o'f: ARM®R, as
Wells as for the security of himate's and TCS® stats TC-SO will j ` i ` the necessity
of secmt_ity serst suthcient te enable ARMO_R and its personnel th timely provide the
health care services called for hereunder and will providethc same'. -' } QR shall net
be hahle: file ihilure th provide services due to security personnel hcihg unavailable to
ARMOR_ staff fn the event ARMOR personnel are _ c th gain access toi an Inmate
*' t 11 el shall mediater contact a TC _'.<Z;> detention supervisor for
assistance so that care may be timely provided

 

 

 

 

 

   

7.2 ' ' ` - " = 5 l"l'_E '_I.'CSO will provide security as n;_i_.; . and
appropriate in connection with the transportation cf any Inmate bemee;ir the TCSO and
any other locali.etl fha oli`~si`te services as contemplated hewitt

73 ' ARMOR agrees to hii'_i;c how aj paul of TC50

 

personnel previously approved hy T080, ftc provide security ijn the hospital fec those
Inmate's requiring eli!~site hospitalization This ' ` will be that cf independent

 

contractor.. T.o the extent the officer must at any lime take law enforcement action s/he
automatically assumes en'~duty status ifor all applicable purposes including liability If
the pte cf TCSO personnel is exhausted, 'I?CSO shall change for security of
hospitalized lnmatjcs. All costs associated with ARMOR providing ottlsxte hospital
_guanl duty will be calculated into the aggregate cap iii seetum l 9_ above

 

spaee, faerhties, cities furniture and fixtures 'uti `hes i ” . ,
~ i ' iv its °bligaflons hereunder ARMOR will il`i)je responsible fec ale long distance

 

 
 

812 DE- i 'Yi UR P.OS E' ION, TCSO- will deliver to ARMOR, on the date of
commencement of this agreement,- possession axiidi nintml of all 0§'cc1fimii`ture an‘d
fixtures currently in place at the T.CSO health care faiciliti'cs, which will r_ _ the

property ofthe TCSO and ‘ _

 

 

&,3 SUPPLIES ARMOR warrants and represents that the quality and quantity of supplies
provided by ARMOR during iithis agreement will he stir§cieut to enable ARMOK to
perfomi its ebhgatiens hereunder

8.4

 

9°£ 16 Exhibit 1
Exhibit No. 1

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 26 of 34

IX`:';

845

   

9._1

9.,2

9_.3

 
 

""I`-ERM AND TERM`UAT l `_OF AGRE rt "

'shall he calculated using s percentage in which the nmeratcr is the lhch for

~CA)

 

 

' ' ` ' " .' ARMOR and TC_SO will conduct c jc_`m`t_ inventcty icf fall cquipxncit
within thirty (30) daya cf the contract start date_; ; " j written agreement between
TCSG and ARM_I~R_ that existing equipment is adequate still iii good working cpnditicn,
ARMOR will be responsible fcr- the purchase al all replacement equipment excluding

 

belclig tc ARMOR upcxl completion of cnn&act. ARMOR will he responsible fcr all
preventative and predictive maintenance ch County equipman hot will oct be
responsible for replacement cf County equipment

 

.CONTRA `_ 'I'E _~ ` Thls- agreement shall he effective on November 1 2013 at 12;01
a.m. CST and end 6'n lime 30 2014 This agreement may be renewed by mutual
agreement in one (l) fiscal year increine`nts, _t'c lie memorialized by addendum tit this
contract If th_c pattie_s hcrew have act reached agrcmncnt en a_ new §scal year
agreement by lane _1“‘ cf each sumcdmg yc:ar', then this _ » - ~
the cxpiration cf the then-existing _tcnn. The base period fci comparison for cast
. "’o`n sh:iill he an annual average horn A;pril to April and shall iba basd ppc_r_i
the Ccnstuner Frl`cc' Inch which inccfpcra`tcs the Tulsa area. Srich renewal adiilstincnts
the wrd
.'r is the

 

 

      

andthc tlj"__ .
i month preceding the begmnmg of the prior 112-month pencil

 

__ __. "g the beginning ofthe new lZ-month p`
In_dex_ for the

 

 

' -. f 'ATION. This agreement may be terminated in thc event of any zone of the
founng

 

‘ - `INA"`IG' E€)_R EFAULT. In the event either party shall give witten
nance to the other that such other flatly hhs materially ctl_ m thc
performance cf any off its obligations and such default shall nct- be cured williin
:'the thirty (-3.0) days follcwing the giving cf such _ » ` ' ` ‘ ' -

the wriftcn tactics shall have the right immediately tc terminate this Agreement

 

 

 

m~) lisaM’*»iAT-.`ION BY A-_c 1 EMBNT._ _In_ the stein the_BOCC~-' and ARMOR
mcnally agree in writing,- with ali (30) '.lltly 110le the AHI¢QU€BIWI-ll be

terminated

 

 

(C) Eithcr party may termiiictc this Agreement ii i"' "'"_i_ut cause hy`_ providing the other
party no' less than 120 days advance written nct'ice of ' 'l‘ _

 

l " n c y … h v - ' ' CARE.- Up_c>__n termination cf this
Wmh maj momth for providing health care services te all ln'matcs,
mcl“dmg inmates receiving health care services ei§’F site will be ‘ "j _{§;gm
ARMOR_tothe TCSG_andBOCC.

 

 

month upon proper invoice for the completed month U_n;l_ess promptly disputed TCSD
‘“°flé Exhibii1

Exhibit No. 1

' ` " f ATION BOCC will pay ARMOR- the sum ol? $3,65931600 for the 8~»
month term cf this contract ARM_OR will hill TCSO the sum of $457, 414 47 pcr;

33

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 27 of 34

 

..4,.;¢¢! .

 

lO-.-Z

 
 

.l 1,$!.

 
  

123

12.2.

metal liability and wisdom iiibiiiiy;insissncc §f` '_ __ _ m _ k
. its ‘omcdts,. and agents with limits not less than cna million dcninth `($.1!,=;(100,09§) per

Sl!ail pay each invoice Witliin 30 days of receipt Fnilin'eé tc do sc~will~ rault lin interest _
accming.,sl:"the rats-cf 1% per month until paidin _'vill.

   

8`:06 a.m.-each day._ At the-cnd'nfca¢h monfh, vii average daily_ f inmate 1 '.
couii't.shall be calculated and provided tcARMOR ' *- " QR-. Wi.ll bill `TQSO $..1_»'33 P¢\'-

  

inmate per day for decli- .dajy the count exceeds 1900-inmates .lf the average daily
middle count for any given month is loss than 1,5€10, .ARMOR will refund $liSB per
bundle per day bizch 1,500 back to BOCC.

ARMOR, itsemployea,

  

occurrence and live million dollars ($5,000,099) in the sggt‘agnto annually Such
coverage amounts will ;alsc extend to physicians, dentistsaaiid psychtamstscngagdd'by
ARMOR on ali lamont costh basis for ins provision of health mesa
hdre\md°er. ARMOR shallprovidc BOCC with `a catilicntccodvrming_ diddrrisledcc of
such~ccveragc and providing fornotice:ef BOCCcf any cancellation cf~s‘uc`li cov’crage.

INDEM§" " ITY. To the villat extent permitted by law, ARMCR. shall inflammfy end
hold harmless the Tulsa County Criminal Justice Authontyi BOCC, Tulsa’€cunty, the
Tulsa County sheriB’s Oftice and its elected officials agents, savanfs senior
emplcyc`a from all claims, actions, ldwsi;ii_ta,_ damaga, jddgments or- 'li`i_i_bilitia arising
out of the insist care delivery systcm presided syARMcR at the F_ '~, standing
any olaiiiis, in whole or iii part relating to the acts and omissions o'fTCSD or either doris
ARMOR staff or subcontractors ARMOR and TCSQ agree that avoidd settlement
negotiations occur as n result of any civil action arising out cf the healthcare delivdry
system ct thd~Facility, both parties will discuss comment options with eachotherpncr
tc releasel Shou_ld ARMOR be named .a defendant in ad action arising cut cf medical
care ai the Faciltty, ARMcR avail notify the rose in a sandy manner

 

» US_

 

BP ENT ONTRACTOR S: -TUS_._ TCSQ ¢KPT$SLY acknowlcdgds that
ARMOR isv m independent contractor and naming iii this agreement is inmdcdnor-
shall bd construed-tc create an.agency relationship an dmploycn'tanployee relationsbip,
ajbldt validate relationship-for aiiy'cther relationship nllowiiigTCS. tc exercise control
or direction over the manner cr clements by winch A`R-MOR cr its subcontractors
perform hardimder, other than as hereinprovidcd ARMDR ctiip.loyeei nr-'ag¢nl$'agl'e¢
to fellow the policies of TCSO, S.:;ls.fe law and minimum .ilai’l stand"n`i"_ds, ddtdri`tiod
&Cilifiesi and mm 1351 iv `_,~_ 88 WBH RS= those malds required .Q'f NC“'IC
add A~`CA accred' ' italicn.

  

` " _ ` " C BOth ARMOR shallprovide c performance bcnd.ir_ithc arnocct
cf l'OQ% -cf`ihe first 1810 days, dr $2,744,48683

   

" °“6 Exhibit 1

Exhibit No. 1

 

123

12,4»

`12;5

isn

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 28 of 34

 

NO'I?ICB. A_ll notices oy other communications required or permitted te he given under
this agreement shall he in writing end shall b'e deemed to have been duly given if
delivered personally in hand or mailed certified mail, return receipt requested postage
prepaid ed the date posted, and eddy_essed to the appcopr`ia'te patty at the following
address cr such addresses as may he given in writing -to- the parties

 

(A) B¢.C.C

Tulsa County Comrnissioneis
Chaimian ofthe Board

500 .S`outh Denver Avemie
T.uls'a_, BI€ldhoma 74103

With.a.oppyto£T*G`S'G;

Tulsa County Sherift’e thice
Aun Undershei':iff Thn~ Albin
560 South Denver.Aaenae
"Iiilsa, OK 74103»

Atmoi‘ C'orrec'tiohal Hedith S,e`ivices, Inc.
.ATTN: Bmce .'-_l`eal, C'hiefExeoutive Ofiic_ei'
..4960 SiWZ -729£ Ave._, Ste» 400

, .. ._e-

f- FL 33155

    

With la ccpy:io:_

.At"mnr Cou‘echonal Health S°em'ces, lii¢.
;A'I"I'N: _Ken Palombo, C_hief Opecann'g Oflicei"
4960 s .w 72”" eve sle 400

Miami, FL 3315'5

§ '~ W. _ `This agreement andthe and obligations ofthe pames hereto

Shull he governed h'y“, and construed aecor'_j'" o, the laws ofthe State ofchl'alioma.

   

   

IRE AGREEMENT This agreement together =-with the R;FP and ARMOR*
.propesa"l, and necessary NCCHC standards ACA standards PRBA standards and
Oklahoma fail Standards which are hereby incorporated and ted hy reference
ennst`itiites the entire agreement of the parties and is intended as a complete and..
exclusive Stateinen't of promises representations negotiations discussions and
agreements that have been made in connection with the meet matter hereof N'e
modi§¢atlen or amendment to this agreement shall he binding upon the parties unless
the same -i‘s in writing and signed by the respective parties hereto. Should a conflicff
arise the documents will he interpreted in the following order: this Agoeement; Aimor s
Proposal; REP ` » ` ts, addendaand answeisto questions and theRFP

 

 

W- ~R OF BRBA 5: .The waiver by either party o_f_ 1a hceaj¢l`_i_ or violation oil any
provision of this agi'ont shall not operate ._d_s___, or- he construed to b_e, a waiver of any
subsequent breach of the same or other provision hereof

   

12 of 16 Exhibit 1

 

Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 29 of 34

;ssaMs\'”"W
.'s slate -'

1`2.-:7

123

12.9

12..-.10:

12-.11

 

 

      

E' "FO - fn the event elmer party incurs legal expensas oil costs to 'enferee
the _- _ of this salesman the prevailing party in any proceeding heretde shall he
entitled to recover ith_e costs such action so incurred,- including without limitation
reasonable attorney’s fees.

    

~ l.. ‘ - EIJRE. ARMOR shall not be deemed in violaEQn-uithisa_glwnmf ifit is
prevented from performing any of its obligations hereunder for any reason beyond ita
cannot including Inmate disturbances lack of adequate security swint acts cf God-,
civil or militm'y ~aut'hozity,-_;aets ofpublie enemy, won explosions earthquakes, floods-, er
any siniilar-'eauseheyond thereasonable:conu'ol sof'ei`ther';pany. '

    
   

“EV ' ' Y. 111 the event of any provision ol" this agreement is held to been
mfo):eeable for any reason, the-mienferceabilltymetfeofaball not efl"ect:the remainder
of the agreement which shall remain in tall force and effect and enforceabls in
accordance with its terms-.

 

  

'» ' . ~ THE `. Notwithst_andilng anything herein tolhe eonway, if
(i) any applicable 'lfw,_ statute, regulating :ordioano‘e, standazd, rule', omni order or
deeree, poliey, practice or procedure of any applicable 'agjovenunental unit, agency or
Office (i‘ncluding but not limited to the federal, state .O.rlocal com legislative bodies
and ageneios, including Tulsa County 'Sheriff’s Omee auditor Tulsa County,- or their
'respeeliye offion or agenta) is adoptedj, wiplementedi» amended 10r changed or if (ii)'l
any standard of moor-treatment protocol ohanges or evnlye¢ in any material respeet,_ or
if any new medicatidln»or- therapy is introduced to treat any illness, disease ot condition
and if'lsuch ohang_e, as described in either __(__i) or (u), materially increases the cost to
ARMOR of’ providing healthcare services herade then ARMQR and the 'I‘o'lsa
County Sherih""»s bffiee and/or Tulsa Gotmty'wi_ll meet to negotiate compensation or
service requi;cnnent eliange,s._ The parties agree to meet and negotiate in good faith
within thirty (30) days following the giving of notice §by one party to the otherfpax-ty of a
ohango(whether such change~,is~ anticipated or implemented). If'thle patino wl to roach
agreement regarding compensation or amcemqunement changes within the;foc'eaoin_g-
thirty (3;0) clay period then elmer TCSQ or `l _j ._ lt may terminate their Agreement
witthlsa County upon sixty {610) days prior written notion

   

lA nn 'DA'MA'GES:

(A_) It is expected that all receivinglech health=and mental health seneemng_s for

mates/detainees shall be completed within two .._(s) hours upon -p“resemanon to the intake

nmse. precfonnanee falls below 90% of »alll. medical records.._=_audited quarterlly, T€SO may
require ARMQR to pay fixed, ahead liq\adawd. damages sisn.oe times the number of
inmates for"whom~sereemn@“ wm not eomp'. __ listed within the time frame-spoon `Eeld for the
period being reviewed

v(B) An_y=-:s_nbseqnent review resulting in performance falling below ninety percent §95°6) Of

this similar " ' d within three (3) months of latest review requiring liquidated damages as
demand in ass swann may, ar rose simon resin m validated damages of
mens ames the number of ramos an whom meanings wm not midland in the
current reviewpenod A third standard of performance lower than ninety pels:ent(§(l%)
within six months of tlie.latest' review requiring liquidated 5511!@3¢8 BS d'€'BQ!`ib¢& 311 this

issue Exhibit 1

Exhibit No. 1

 

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 30 of 34

 

 

Seeti'cin mays at TCSG's. discretion be taken .-at 13250.00' per Inmate Any continued
substandard findings lower than ninety-percent (9`0°/£») within six monthsfiiim the iatest
review period may, at TCSD’s~~dis`i;._aretion result in penalty of $300;0`0 per harms

-(C)Liquidated damages may be assessed for faiha'e in maintain ACA and NCCHC-
accreditation if ARMOR fails to maintain accreditaxian do to aim/omissions of
ARMOR, they will incur liquidated damages of $25, 000 per episode if`it is determined
by the_ TCSO that ARMOR was responsible ibt the failm'e to maintain accreditation

 

WITNE - - WH`E 5 OF. . the parties have set theirhands ancist hereth as the day and year first
above written

 

 

i.. it '1 ia°i"t‘tiéi€ie*-i:r

 

inznoickunasanaaiaasais¢ivnasrinc
4900 s w isoil ava, sie. 400

    

'~.~_301$5

la of [1-.6

Exhibit 1
Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 31 of 34

s'

EXHIBI'I` A

(.Staii`mg)

Health S'ervic'es inistrator ’ 7
Medicai Director $110.58
P NF .44
Director of .

RN » infection duceth CQ¥ 28.37
RN - Disch Planner Man .37
RN s 30.08

RN 6.49
LPN 19..89

CMA
Administrative 0 6.00.
M'edical Recerds Clerk. 12.00
‘ id-Levei 2.21
Mental Heath Professiona| LCSW 4.04
00

Denta¥ Assistant 16.50

 

 

16 °f 16 Exhibit 1

Exhibit No. 1

 

 

 

 

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 32 of 34

*‘ sweep
l"lll.§e`l$)l`n.11§!§°"}"'¢x
AP.FROVED CoN-'rRAcT Exéi?ENsion
ll FiscAi. YEAR 2015-2016 2315 oct --,, w j
BCT 1 2 2015. HEALTH simmons AGREEMENT ~- 'N' 211

 

Con'cetional l Health Scrviccs, lhc. (_liereinat`ter “__Ar_mor”) and thc n Board 'of County
Commissioners of Tulsa County (“BOCC”), on behalf of the `I.`liilsa County Sh'erlff’s Off‘iee (the
“Slier_iff"-) is dated for reference purposes as of lone 1,201§

WHEREAS,~ tire BOC_C and Armor executed an Health Se'rv.~ices' Agreement for the David
L_. Moss Ci'~imiua`l Justice Center that commenced November .l. 2013 4(hercinai`t4er “Malin
Agreement”), by which Aimoi' assumed the responsibilities f_o"r' provision of certain healdi care
S¢Mce`s as set fordli iii the Main Agreement; and

WHEREAS, on june 9 2014, Armor and the BOC€ entered into the Fiist Amenrlm'cnt
(ltit'e “~F_itst Am'chdinent") to the Maiii A;geement for purposes of attending the contract for an
additional year and no longer requiring the Health Sen/ices Admmistratcrto bic an RN; and

WHEREAS ihe'BlOCC and Amior wish to exercise die right set forth-in .~Section;' 9.1 ofF
the Main Agreement for tin-additional yeah

' "NOW,: THEREFO'_RE,:`in ;.consi_deration of the mutual covenants contained herein, the
receipt and su'Hiciency of`.w`hlch are~h_ereby acknowledged; it isiag'_lced upon as follows:

italics

"l. The- tcrms and conditions of this amendment4 as set forth belowl, shatl' be effoi`:ltivc as of
July l 2015

2. Pursuant to Se.ction 9.1 of the Mai_n Agreement, the parties hereby renew and- extend for
the period running from July 1,2`015 through J`ii_r`i'c 30 2016 (th'e “Sccond Rene_wal
Perilod”)

3. Pursuant to Scc_t;ion 9. l of the Main Agreement, the base compensation renewal
adji_istmcnt shall be l .9%. Accordingly, the compensation for the Scco_'nd Rcri`cwal
P'eriod Shall be $_;5 ,,72¥ 909 18 annually for $476, 825 .77 monthly);

-4_». Exhibit “?A” Stafh`ng- of the Maj'i'n Agrcment, RN-Dischargc l_?l_anner / 'Utiii'zfatioii
Maiiag'c"mcnt- -lias tim amended to ieadl Discharge Plann'cr / Utihzation management

5. lit light ofthe hose compensation renewal adjustment, Section 10 2 shall he amended to
change the perdicmrate from 8188to$l92 pcrinmate

6§ Scc`tion nmir_l`icr 4 of the Contract Ext'_cnsion, Eiscal Ye'a'r 2014~2015'1$ deleted Bii`ect-ivc
with this extension the Health Services Adniinistrator shall be a Registered Noisc

7. Section 2.1_, D, of the Main Agreement is amended to add the following at the end of the
paragraph Iri the event _an_y position goes unworkcd_ for more than 30 consecutive days.
the TCSO_ may request a credit for all unworkod hours at the applicable withhold rate for
said position nommstandmg total paid hours equals or exceeds total contracted hours

Exhibit 2
Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 33 of 34

.-8. Ih the calcttlat`ion'of total monthly paid houcs,lth;choni:s that wonld’lia`ve.ls'een workedon
Arnior holidays b'_y staff membas in the positions listed below will be considered paid
hours and included in the total monthly paid hours_._ The positions incinde: Health
Servi'c_es Admlnistxator (HSA), Medical Director, Stafl` Ph_ysieians Midlevel providers
Dcx`itlis'_t', Dantal Assist~ant~, Dir'ceto'r of Nursing (DON), Director of Mental Healtlt`.
Psyohia_trl'st, Mental Health Administrator, Licensed Mental Health workars_, and
Se¢retarial staff

93. lit all other respects the tenns md conditions of the Main Agreement and the Flist
Amendment shall continue unchanged and remain 111 full force and effch

Board of County

  
    

i‘ w al Health Serv`lces_, lne.

 
      

   

telephoned this _LZ_- day cr MN'&m-s ny ute BQARD ali come
coMMtss!r)NERs-GF TULSA lcoUN'rY.

 

 

 

 

DEPUTY COWCLERK +"’c ' " ' §'
,,"-/]h 01( LA~%B\&Y"\`

Revtewlld‘dllll 1111 towed as to form and legality

§\\
ii
5

Exhibit 2
Exhibit No. 1

Case 4:17-cV-00615-TCK-FH|\/| Document 2-1 Filed in USDC ND/OK on 11/07/17 Page 34 of 34

Pagc l of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Booking Detaii 'Prmr ng
< ` ` w ' ,` ., ll
ldenHHcation . _
wayne BRADSHAW NAWN DAMEL` y
BLM # 1221'738
Book§ng id 2016¢$08069
Docket |D 480?28
hamm Infoma`tibn=
Race W Hair Co!or BRO Faoiai Hair
, merits '
.Gender M Eye Co|or BLu Si l
Hei'ght 6‘02” Comp¥axion Next of Kin __
We*g""‘ §§L.mma“*“ .. . _ _ *"‘ °*` m .<‘.’,°':§’;.“i,.*?,°,“;im
sims mate _ aim mace wm mc sss -
Age at b ` . ~ .
B®king -32 Street Address ms s D&NVER Av APT` 109 Uc #
'Qge;:;e 32 City, 3th zip msa 0»< mcs FB| #
Cu:*rent Age 32 Phane Lma>aso~sazz "f?D #
OSB§ #
im 1 smoking rmi-mann
_Arrest Date 3)’822016 Book§ng Date simms
Arrest'fim 118:3&§ Book§ng Time 19:05
Anest 831 M€CuMTQCK Boo.ked By nlem>erg
msa muce Weekend
AQB"CY nemme Se;ver Fa“”
OTN # 045064855\. Custody f.evel 4
Est. Ce!l Curren.t
Re!ease Assignment Locah‘on
Re‘ease 3/13:201'6 Re}aasa By cum wood
Date v
§:l;ase 13:32 §;;B;S: f21 - Aw;lPe¢sona! Recognizanoe
wakng Nmes
A£Qrts
Trustee Swws

htgp:/_fjaim_tfyrimi?»ooking.asp?key:%`l 693089‘59&¢1¥.¥11<¢¥== 1321 ?3 3'

061'.»§;4£20¥6
Exhibit 3

Exhibit No. 1

